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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                   2:05-cr-5-FtM-33SPC

ALEXIS MIGUEL GONZALEZ
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                                   ORDER

      This matter comes before the Court on Gonzalez’s Motion for

Determination of Competency (Doc. #202) filed on August 25, 2005.

Magistrate    Judge   Sheri   Polster   Chappell   issued   a    report   and

recommendation (Doc. #367) on November 23, 2005, recommending that

Gonzalez be found competent to stand trial or to enter a plea of

guilty. No objections were filed to the report and recommendation.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.               28 U.S.C. §

636(b()1);    Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983). A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”      28 U.S.C. § 636(b)(1)(C).         This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.” Jeffrey S. by Ernest

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir.

1990)(quoting H.R. 1609, 94th Cong., § 2 (1976)).               The district
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judge reviews legal conclusions de novo, even in the absence of an

objection.      See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603,

604 (11th Cir. 1994).

      After    conducting   a   careful    and   complete   review   of   the

findings, conclusions and recommendations, and giving de novo

review to matters of law and those matters to which objections were

filed, the Court accepts the factual findings and legal conclusions

of the magistrate judge, and the recommendation of the magistrate

judge regarding the motions.

      Accordingly, it is now

      ORDERED, ADJUDGED and DECREED:

      1.      The magistrate judge’s report and recommendation (Doc.

#367) is ACCEPTED and ADOPTED.

      2.      The Court finds Gonzalez competent to stand trial or

enter a plea of guilty.

      DONE AND ORDERED at Fort Myers, Florida, this 12th day of

December, 2005.




Copies:
All Counsel of Record

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